                         Case 9:19-bk-04307-FMD                       Doc 4   Filed 05/08/19           Page 1 of 2

Information to identify the case:
Debtor 1              Mary Ann Wallace                                                  Social Security number or ITIN         xxx−xx−3342
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Middle District of Florida
                                                                                        Date case filed for chapter 7 5/7/19
Case number:          9:19−bk−04307−FMD


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                              12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Mary Ann Wallace

2.      All other names used in the
        last 8 years

3.     Address                               3335 Grant Cove Circle
                                             Apt. # 108
                                             Cape Coral, FL 33991

4.     Debtor's attorney                     Allan T Griffith                                       Contact phone 239−334−9199
                                             Allan T Griffith, P A
       Name and address                      2100 McGregor Boulevard                                Email: allan@allantgriffith.com
                                             Fort Myers, FL 33901

5.     Bankruptcy Trustee                    Robert E Tardif Jr.                                    Contact phone (239) 362−2755
                                             Trustee
       Name and address                      Post Office Box 2140
                                             Fort Myers, FL 33902

Notice is further given that effective on the date of the Petition, the United States Trustee appointed the above named individual as interim
trustee pursuant to 11 USC § 701.
                                                                                                               For more information, see page 2 >
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Debtor Mary Ann Wallace                                                                                            Case number 9:19−bk−04307−FMD


6. Bankruptcy Clerk's Office                      801 N. Florida Ave. Suite 555                                   Hours open:
                                                  Tampa, FL 33602−3899                                            Monday − Friday 8:30 AM −
    Documents in this case may be filed at this                                                                   4:00PM
    address. You may inspect all records filed
    in this case at this office or online at
    www.pacer.gov.                                                                                                Contact phone 813−301−5162

                                                                                                                  Date: May 8, 2019

7. Meeting of creditors                           June 11, 2019 at 11:30 AM                                       Location:

    Debtors must attend the meeting to be         The meeting may be continued or adjourned to a United States Courthouse
    questioned under oath. In a joint case,       later date. If so, the date will be on the court Federal Bldg., 2110 First Street
    both spouses must attend. Creditors may
    attend, but are not required to do so. You    docket.                                          2−101, Fort Myers, FL 33901
    are reminded that Local Rule 5073−1
    restricts the entry of personal electronic      *** Debtor(s) must present Photo ID and acceptable
    devices into the Courthouse.                   proof of Social Security Number at § 341 meeting. ***


8. Presumption of abuse                           The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                     Filing deadline: August 12, 2019
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                  You must file a complaint:
                                                  • if you assert that the debtor is not entitled to
                                                    receive a discharge of any debts under any of the
                                                    subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                    or

                                                  • if you want to have a debt excepted from discharge
                                                    under 11 U.S.C § 523(a)(2), (4), or (6).

                                                  You must file a motion:
                                                  • if you assert that the discharge should be denied
                                                    under § 727(a)(8) or (9).


                                                  Deadline to object to exemptions:                               Filing deadline: 30 days after the
                                                  The law permits debtors to keep certain property as             conclusion of the meeting of creditors
                                                  exempt. If you believe that the law does not authorize an
                                                  exemption claimed, you may file an objection.


10. Proof of claim                                No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now. If
                                                  it later appears that assets are available to pay creditors, the clerk will send you another notice telling
                                                  you that you may file a proof of claim and stating the deadline.
    Please do not file a proof of claim unless
    you receive a notice to do so.


11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court
                                                  to extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if
                                                  you have any questions about your rights in this case.


12. Exempt property                               The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                                  distributed to creditors. Debtors must file a list of property claimed as exempt. You may inspect that list at
                                                  the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law does not authorize an
                                                  exemption that the debtors claim, you may file an objection. The bankruptcy clerk's office must receive
                                                  the objection by the deadline to object to exemptions in line 9.


13. Voice Case Info. System                       McVCIS provides basic case information concerning deadlines such as case opening, discharge,
    (McVCIS)                                      and closing dates, and whether a case has assets or not. McVCIS is accessible 24 hours a day
                                                  except during routine maintenance. To access McVCIS toll free call 1−866−222−8029.
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